
66 So. 3d 1029 (2011)
Charles Ernest ROOD, Jr., Petitioner,
v.
STATE of Florida, Respondent.
No. 1D11-1298.
District Court of Appeal of Florida, First District.
July 22, 2011.
James Owens, Public Defender, First Judicial Circuit, and Alice F. Harris, Assistant Public Defender, Milton, for Petitioner.
Pamela Jo Bondi, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The amended petition seeking a belated appeal of the judgment and sentence rendered on November 7, 2008, in Escambia County Circuit Court case number 2007-CF-006316-A, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal shall appoint counsel to represent him in the belated appeal authorized by this opinion.
VAN NORTWICK, WETHERELL, and ROWE, JJ., concur.
